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              EXHIBIT 3
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    Research         Targeted Threats




    FORCEDENTRY
    NSO Group iMessage Zero-Click Exploit Captured in the Wild
    By Bill Marczak, John Scott-Railton, Bahr Abdul Razzak, Noura Al-Jizawi, Siena Anstis, Kristin
    Berdan, and Ron Deibert
    September 13, 2021




    Summary
            While analyzing the phone of a Saudi activist infected with NSO Group’s Pegasus spyware, we
            discovered a zero-day zero-click exploit against iMessage. The exploit, which we call FORCEDENTRY,
            targets Apple’s image rendering library, and was effective against Apple iOS, MacOS and WatchOS
            devices.
            We determined that the mercenary spyware company NSO Group used the vulnerability to remotely
            exploit and infect the latest Apple devices with the Pegasus spyware. We believe that
            FORCEDENTRY has been in use since at least February 2021.
            The Citizen Lab disclosed the vulnerability and code to Apple, which has assigned the
            FORCEDENTRY vulnerability CVE-2021-30860 and describes the vulnerability as “processing a
            maliciously crafted PDF may lead to arbitrary code execution.”
            Today, September 13th, Apple is releasing an update that patches CVE-2021-30860. We urge readers
            to immediately update all Apple devices.


       Devices affected by CVE-2021-30860 per Apple:
       All iPhones with iOS versions prior to 14.8, All Mac computers with operating system versions prior
       to OSX Big Sur 11.6, Security Update 2021-005 Catalina, and all Apple Watches prior to watchOS
       7.6.2.


    Discovery
    In March 2021, we examined the phone of a Saudi activist who has chosen to remain anonymous, and de-
    termined that they had been hacked with NSO Group’s Pegasus spyware. During the course of the analysis

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    we obtained an iTunes backup of the device.




                Figure 1: The GIF files we found on the phone.


    Recent re-analysis of the backup yielded several files with the “.gif” extension in
    Library/SMS/Attachments that we determined were sent to the phone immediately before it was hacked
    with NSO Group’s Pegasus spyware.


    Payload
    The files were:

            27 copies of an identical file with the “.gif” extension. Despite the extension, the file was actually a
            748-byte Adobe PSD file. Each copy of this file caused an IMTranscoderAgent crash on the device.
            These files each had random-looking ten-character filenames.

            Four different files with the “.gif” extension that were actually Adobe PDF files containing a JBIG2-
            encoded stream. Two of these files had 34-character names, and two had 97-character names.
            The output of the pdfid tool on these four “.gif” files was (NB: the stream had varying length):



      PDF Comment '%PDF-1.3\n\n'


      obj 1 0
       Type: /XRef
       Referencing:
       Contains stream


         << /Type /XRef /Size 9 /W [1 3 1] /Length ... /Filter [/FlateDecode /FlateDecode /JBIG2Decode] /De




      trailer

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         << /Size 2 >>


      startxref 10


      PDF Comment '%%EOF\n'




    Discovery and Disclosure
    Because the format of the files matched two types of crashes we had observed on another phone when it
    was hacked with Pegasus, we suspected that the “.gif” files might contain parts of what we are calling the
    FORCEDENTRY exploit chain.

    Citizen Lab forwarded the artifacts to Apple on Tuesday, September 7. On Monday, September 13, Apple
    confirmed that the files included a zero-day exploit against iOS and MacOS. They designated the
    FORCEDENTRY exploit CVE-2021-30860, and describe it as “processing a maliciously crafted PDF may lead
    to arbitrary code execution.”

    The exploit works by exploiting an integer overflow vulnerability in Apple’s image rendering library
    (CoreGraphics). We are publishing limited technical information about CVE-2021-30860 at this time.


    Attribution to NSO Group
    We observed multiple distinctive elements that allowed us to make a high-confidence attribution to NSO
    Group:

                     The spyware installed by the FORCEDENTRY exploit exhibited a forensic artifact that we call
                     CASCADEFAIL, which is a bug whereby evidence is incompletely deleted from the phone’s
                     DataUsage.sqlite file. In CASCADEFAIL, an entry from the file’s ZPROCESS table is deleted, but
                     not entries in the ZLIVEUSAGE table that refer to the deleted ZPROCESS entry. We have only
                     ever seen this type of incomplete deletion associated with NSO Group’s Pegasus spyware, and
                     we believe that the bug is distinctive enough to point back to NSO. The specific CASCADEFAIL
                     artifact can be detected by


      SELECT "CASCADEFAIL" FROM ZLIVEUSAGE WHERE ZLIVEUSAGE.ZHASPROCESS NOT IN (SELECT Z_PK FROM ZPROCESS




            The spyware installed by the FORCEDENTRY exploit used multiple process names, including the
            name “setframed”. That process name was used in an attack with NSO Group’s Pegasus spyware on
            an Al Jazeera journalist in July 2020. Notably, we did not publish that detail at the time.


    Previous NSO Zero-Click Exploits
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    FORCEDENTRY is the latest in a string of zero-click exploits linked to NSO Group. In 2019, WhatsApp fixed
    CVE-2019-3568, a zero-click vulnerability in WhatsApp calling that NSO Group used against more than
    1400 phones in a two-week period during which it was observed, and in 2020, NSO Group employed the
    KISMET zero-click iMessage exploit.

    To our knowledge, the KISMET vulnerability was never publicly identified, though we suspect that the un-
    derlying vulnerability (if it still exists) can no longer be exploited via iMessage due to Apple’s introduction
    of the BlastDoor mitigation in iOS14. We suspect that NSO Group developed FORCEDENTRY, which cir-
    cumvents BlastDoor, in response to this mitigation.


    Conclusion
    Despite promising their customers the utmost secrecy and confidentiality, NSO Group’s business model
    contains the seeds of their ongoing unmasking. Selling technology to governments that will use the tech-
    nology recklessly in violation of international human rights law ultimately facilitates discovery of the spy-
    ware by investigatory watchdog organizations, as we and others have shown on multiple prior occasions,
    and as was the case again here.

    In 2016, we titled our report on the discovery of an iOS and MacOS Apple zero-day the “Million Dollar
    Dissident.” The title was chosen to reflect the huge sums that autocratic governments are willing to pay to
    hack their critics. Mercenary spyware companies devote substantial resources to identifying software vul-
    nerabilities on widely used applications and then package those exploits to eager government clients, cre-
    ating a highly lucrative but widely abused commercial surveillance marketplace.

    Our latest discovery of yet another Apple zero day employed as part of NSO Group’s arsenal further illus-
    trates that companies like NSO Group are facilitating “despotism-as-a-service” for unaccountable govern-
    ment security agencies. Regulation of this growing, highly profitable, and harmful marketplace is desper-
    ately needed.

    Our finding also highlights the paramount importance of securing popular messaging apps. Ubiquitous
    chat apps have become a major target for the most sophisticated threat actors, including nation state es-
    pionage operations and the mercenary spyware companies that service them. As presently engineered,
    many chat apps have become an irresistible soft target. Without intense engineering focus, we believe that
    they will continue to be heavily targeted, and successfully exploited.


    Acknowledgements
    We thank the targets of Pegasus spyware that have allowed us to analyze their devices, with a special
    thanks to the individual that worked with us on this case. It is thanks to them, and their bravery, that we
    were able to make this discovery.

    Special thanks to all at Apple for quick and responsive action.


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    Thanks to our Citizen Lab colleagues for feedback and editing.

    Thanks to TNG.



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